                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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JULIE TESKIE,                                                    ORDER
                            Plaintiff,
                                                               17-cv-240-bbc
              v.

USI SOLUTIONS, INC. and
DOES 1-10,

                            Defendants.

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       Plaintiff Julie Teskie has brought this action against defendant USI Solutions, Inc.

and various Doe defendants for alleged violations of the Fair Debt Collection Practices Act,

15 U.S.C. § 1692. On May 22, 2017, USI filed an unsigned letter response to this civil

action. Dkt. #4. Although a blank email with the name Charles Riter is attached to the

letter, it does not appear that Charles Riter drafted the pleading or that he is a licensed

attorney representing USI. The deadline for answering the complaint was April 24, 2017.

Dkt. #3.

       Under Fed. R. Civ. P. 11, “[e]very pleading, written motion, and other paper must

be signed by at least one attorney of record in the attorney’s name—or by a party personally

if the party is unrepresented.” It is well established that a corporation may appear in the

federal courts only through licensed counsel. Rowland v. California Men’s Colony, Unit II

Men’s Advisory Council, 506 U.S. 194, 202 (1993); Muzikowski v. Paramount Pictures

Corp., 322 F.3d 918, 924 (7th Cir. 2003); Kipp v. Royal & Sun Alliance Personal Insurance



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Co., 209 F. Supp. 2d 962, 963 (E.D. Wis. 2002). Thus, defendant USI’s answer has not

been properly filed because it is not signed by an attorney.

       I will give defendant USI until June 21, 2017 to retain counsel and file another

answer signed by counsel. Operating Engineers Local 139 Health Fund v. Rawson Plumbing,

Inc., 130 F. Supp. 2d 1022, 1024-25 (E.D. Wis. 2001) (applying same requirement in

similar situation); Wisconsin Laborers Health Fund v. CDB Enterprise, LLC, no.

09-cv-619-bbc, 2009 WL 5097170, at *1 (W.D. Wis. Dec. 16, 2009) (same). If, by then,

defendant USI does not file an answer signed by counsel, I will direct the clerk to enter a

default against defendant pursuant to Fed. R. Civ. P. 55(a).

       I note that this order does not address the fact that defendant did not file a timely

answer in accordance with Fed. R. Civ. P. 12(a)(1) and makes no finding on whether there

is good cause for allowing defendant to file its answer late. Rule 6(b) (“When an act may

or must be done within a specified time, the court may, for good cause, extend the time”

only “on motion made after the time has expired if the party failed to act because of

excusable neglect”).




                                           ORDER

       IT IS ORDERED that defendant USI Solutions, Inc. may have until June 21, 2017,

in which to file an answer that complies with Fed. R. Civ. P. 11(a). If defendant fails to file




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a proper answer by that date, the clerk of court is directed to enter default against it.

       Entered this 23d day of May, 2017.

                                           BY THE COURT:

                                           /s/
                                           __________________________
                                           BARBARA B. CRABB
                                           District Judge




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